08-22511-rdd          Doc 8     Filed 04/28/08       Entered 04/28/08 18:55:06       Main Document
                                                     Pg 1 of 2


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                               Chapter 11
        SHLOME BRAUN
        RACHEL BRAUN                                                Case No. 08-22511(ASH)

                           Joint Debtors.
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                        AFFIDAVIT PURSUANT TO LOCAL RULE 1007-2

        Shlome Braun and Rachel Braun, joint debtor’s herein (the “Debtors”), hereby declare under

penalty of perjury, pursuant to Local Rule 1007-2, as follows:



                 1.       On April 16, 2008, the Debtors filed a joint petition seeking an Order for relief

under the protective provisions of Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§101

et seq. (the "Bankruptcy Code").



                 2.       The Debtors were primarily in the business of ownership and construction of

residential real estate and have continued to own their properties and business since the filing of the

petition, as debtor-in-possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

                 3.       No pre-petition committees have been formed.

                 4.       A matrix with the twenty largest unsecured creditors is attached to the petition.

                 5.       The documents and information required by items 5 through 12 will be listed

in the Debtor’s schedules and statement of financial affairs.

                 6.       The information required by Section (b) will be provided.
08-22511-rdd   Doc 8   Filed 04/28/08   Entered 04/28/08 18:55:06   Main Document
                                        Pg 2 of 2




Dated: New York, New York
       April 28, 2008




                                        SHLOME BRAUN

                                              s/ Shlome Braun


                                        RACHEL BRAUN

                                              s/ Rachel Braun




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